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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 IN RE:
                                                      Case No. 25-md-3143 (SHS) (OTW)
 OPENAI, INC., COPYRIGHT INFRINGEMENT
 LITIGATION

 This Document Relates To:

 AUTHORS GUILD, et al v. OPENAI, INC., et al,
 Case No. 23-cv-08292

 ALTER, et al. v. OPENAI, INC., et al, Case No.
 23-cv-10211

 NOTICE OF JUSTIN A. NELSON’S MOTION TO APPOINT JUSTIN A. NELSON OF
   SUSMAN GODFREY L.L.P. AS INTERIM LEAD COUNSEL FOR THE CLASS

       PLEASE TAKE NOTICE that Justin A. Nelson, current Interim Co-Lead Class Counsel,

will move this Court before the Honorable Sidney H. Stein, United States District Judge, of the

United States District Court for the Southern District of New York, 40 Foley Square, New York,

NY 10007, for an order appointing Justin A. Nelson, of Susman Godfrey L.L.P., as Interim Lead

Class Counsel pursuant to Fed. R. Civ. P. 23(g). A proposed order is attached to this notice and

will be submitted to the Orders Clerk concurrently with this filing.

       In support of the motion, Justin A. Nelson will rely upon the accompanying memorandum

of law, the Declaration of Justin A. Nelson, and any other written or oral argument as may be

requested or permitted by the Court.

       Dated: May 28, 2025


                                              /s/ Justin A. Nelson
                                              Justin A. Nelson (pro hac vice)
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                                CERTIFICATE OF SERVICE


       I hereby certify that on May 28, 2025, I caused the foregoing document to be electronically

filed with the Clerk of the United States District Court for the Southern District of New York using

the CM/ECF system, which shall send electronic notification to all counsel of record.

                                                     Justin A. Nelson
                                                 (Signature)




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